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10                           UNITED STATES DISTRICT COURT
11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12   UNITED STATES OF AMERICA,                   No. CR 13-106(A)-DOC

13              Plaintiff,                       UNITED STATES’ REPLY IN OPPOSITION
                                                 TO DEFENDANT’S SECOND MOTION FOR A
14                    v.                         NEW TRIAL

15   MONGOL NATION,                              Date: October 6, 2022
       An unincorporated association,            Time: 3:00 p.m.
16                                               Location:    Courtroom of the
                Defendant.                                 Hon. David O. Carter
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19         The defendant’s burden on a motion for new trial is to show: (1)
20   evidence that is newly discovered; (2) failure to discover the
21   evidence sooner was not due to a lack of diligence; (3) the evidence
22   was material to trial issues; (4) the evidence was not cumulative or
23   merely impeaching; and (5) a new trial would probably result in an
24   acquittal.    United States v. George, 420 F.3d 991, 1000 (9th Cir
25   2005); United States v. Kulczyk, 931 F.2d 542, 549 (9th Cir. 1991).
26   Defendant did not make that showing, and its Motion must therefore be
27   denied.
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1          Defendant’s Motion claimed that its national president was a

2    confidential informant who provided trial strategy to the government

3    during trial.     That was not true.      Over the course of several months

4    and days of hearings, no witness or piece of evidence supported it.

5    Then, at the hearings, defendant tried to argue another theory about

6    the Mexican Mafia and the indictment in an unrelated case.            That

7    theory was also unsupported and did not identify any new evidence or

8    basis for a new trial under Rule 33(b)(1) either.           Now, it is almost

9    ten months after defendant filed its Motion and years after the trial
10   and convictions.     The Court has permitted multiple days of testimony,
11   spread over the course of several months, and defendant did not meet
12   its burden to show new evidence or any of the elements required for a
13   new trial under Rule 33(b)(1).
14         Defendant’s Brief restates its unsupported and irrelevant theory
15   about the Mexican Mafia, Ralph Rocha and Art Garcia.           See Defendant’s
16   Brief, at 5-11.     Those theories were not raised in defendant’s
17   Motion, or even the first Reply brief defendant filed months after
18   the Motion, and they were not relevant when defendant questioned

19   witnesses about them at the hearings.         Even now, defendant cites

20   nothing in its Brief to show that this attenuated, at best, theory

21   would establish new and material evidence, especially not when the

22   events would have occurred, if ever, prior to 2010, which was years

23   before the 2018 trial.      See United States v. George, 420 F.3d at

24   1000; United States v. Kulczyk, 931 F.2d at 549.          Defendant also

25   ignores the testimony that its claims were not relevant to its

26   assertion about Santillan.       See, e.g., 9/7/22 R.T. Vol. I 100:-100:14

27   (“What does anything from Eme have to do with the video, Joe?

28   Nothing.    Not a g*ddamn thing.”).       Defendant also omits that it

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1    wrongly asserted that Santillan was an “unindicted co-conspirator” in

2    another case.     FBI SA Talamantez testified that the claim was false.

3    7/22/22 R.T. Vol II 32:19-21 (“My point is, sir, I believe that David

4    Santillan, the president of the Mongols Motorcycle Club, is UICC

5    39.”); and 7/22/22 R.T. Vol II 39:20-44:10 (THE COURT: “Are any of

6    the UICCs in this Indictment David Santillan?”          THE WITNESS:

7    “No.”)).    Defendant also falsely claimed that retired Montebello

8    Police Officer Christopher Cervantes was somehow Santillan’s

9    “handler.” (7/25/22 R.T. Vol I 16:1-6. (The Court asked Cervantes,
10   “Is Santillan a rat?      A cooperator?    I’m asking you that:      Is
11   Santillan a cooperator?” and Cervantes answered, “No, sir.”)).
12   Again, that claim was false as well.
13         Defendant also ignores that Cervantes also testified that
14   neither he, SA Ciccone, “the ATF, DEA, task force, [nor] any federal
15   authority” were “protecting” Santillan.         7/25/22 R.T. Vol. III 19:19-
16   20:3.   SA Ciccone also testified to that claim directly and in
17   response to the question directed by the Court.          7/22/22 R.T. Vol. I
18   50:7-12; see also, 9/7/22 R.T. Vol. I 32:1-33:2 (SA Ciccone stated

19   that he was not aware of any cooperation with Santillan).            Thus, even

20   though defendant has repeated these claims in its Brief here, the

21   actual testimony showed that they were false.

22         In its Brief, defendant also restates its baseless assertion

23   that Santillan was allowed to “walk free” from criminal charges.

24   Defendant never offered any evidence to support that claim.

25   Moreover, every witness testified that it was not true and that

26   Santillan did not receive assistance for any of the criminal charges

27   against him.    See, e.g., 6/28/22 R.T. Vol. I 55:1-56:24 (A. Santillan

28   brought records and testified repeatedly, “There was no assistance);

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1    6/29/22 R.T. Vol. I 52:5-7 (Santillan testified that defense

2    counsel’s statement was, “Not true.”); 7/22/22 R.T. Vol. I 89:7-16

3    and Vol. III 37:1-17 (SA Ciccone testified that he did not have any

4    involvement in the disposition of criminal cases against Santillan).

5    Even the Court stated, “I don’t see that he’s gotten a break.”

6    7/22/22 R.T. Vol. I 93:14-17.       Defendant, in fact, cites nothing in

7    its Brief –- no evidence or testimony –- to support this claim

8    either, which defendant, nonetheless, repeats again.           Defendant’s

9    Brief, at 11-12.     The claim is still baseless.       Every witness
10   testified that it is not true, and it does not support defendant’s
11   Motion.
12         Over the course of the eight hearings, witnesses testified
13   directly that Santillan was not an informant and did not provide
14   trial strategy to the government.         7/25/22 R.T. Vol I 17:11-19 (THE
15   COURT:    “This has one focus:     Is Santillan a government informant?
16   That’s the focus.”).      A. Santillan, Santillan, retired ATF Special
17   Agent John Ciccone, retired Montebello Police Officer Christopher
18   Cervantes, ATF Supervisory Special Agent (“SSA”) Susan Raichel all

19   testified that defendant’s claim was not true.          SSA Raichel,

20   Montebello Police Sergeant Omar Rodriguez, Los Angeles County Sheriff

21   Deputy Ivania Farias, and Long Beach Police Department Sergeant

22   Jarrod Lewis also testified that they conducted searches, and there

23   are no records of any agreements with Santillan.          FBI SA Joey

24   Talamantez testified, as well, that Santillan was not “UICC 38,”

25   “UICC 39” or any other “unindicted co-conspirator” in his case.

26   Defendant’s claim that Santillan was a confidential informant and

27   provided trial strategy to the government was not true and did not

28   show new evidence.

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1          Defendant did not meet its burden to show new evidence under

2    Rule 33(b)(1).     It also did not show that a new trial would probably

3    result in an acquittal, and it could not do that in this case,

4    especially not in this case.       The jury convicted defendant on both

5    counts of racketeering and RICO conspiracy, after it heard weeks of

6    testimony from many witnesses about the unending crimes committed by

7    this defendant, and crimes that the defendant and its members

8    continue to commit.      In fact, one distinct aspect about this case was

9    that this defendant and its members never stopped committing crimes,
10   even after indictment and even during the trial.          They, in fact,
11   committed crimes throughout the proceedings, and the crimes have not
12   stopped.    The jury, thus, heard testimony and saw evidence of
13   racketeering and racketeering conspiracy crimes many, many times
14   over.   Santillan correctly described that evidence as “super strong.”
15   6/29/22 R.T. Vol. II 16:4-17:10.          That evidence included numerous
16   many crimes and drug transactions, and evidence of the crimes
17   continued to arrive throughout the proceedings and during the trial,
18   because the Mongols and its members, again, continued to commit more

19   crimes.    Moreover, some of the incriminating evidence at trial

20   actually came from witnesses called by the defendant.           For example,

21   it was defendant who decided to call retired SA William Queen to

22   testify.    SA Queen then testified about even more Mongols crimes that

23   he learned about during his infiltration of the Mongols and Operation

24   Ivan.   That included testimony and evidence about an actual scalping

25   committed by Mongols members and testimony that Mongols members took

26   SA Queen to a remote location where they made him set up targets and

27   shot guns at him while they accused him of being an informant.

28   Similarly, defendant also called retired SA Jay Dobyns and convicted

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1    Mongols member Christopher Ablett.         They also testified about more

2    crimes, and Ablett’s testified that he killed the Hells Angels

3    president in San Francisco.       They also described the environment

4    within the Mongols that promoted and rewarded those crimes.            That

5    testimony, like the testimony of retired SA Queen, was very

6    incriminating against the defendant at trial, so was testimony about

7    the killing of Officer Shaun Diamond by a Mongol in Pomona, videos

8    that repeatedly showed Mongols members shooting, stabbing and beating

9    individuals in public locations.          Ultimately, the jury convicted the
10   defendant of both racketeering and conspiracy to commit racketeering,
11   because it saw and heard direct evidence from many witnesses,
12   including witnesses called by defendant, that showed defendant had
13   been committing those crimes for decades and continued to commit
14   them.   That remains true.
15         Ultimately, defendant did not meet its burden under Rule
16   33(b)(1) to support a new trial under a claim of newly discovered
17   evidence.    Its Motion did not meet any of the elements required to
18   support a new trial, and it must be denied.

19    Dated: September 29, 2022            Respectfully submitted,

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                                           SCOTT M. GARRINGER
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                                           Chief, Criminal Division
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24                                           /s/Christopher Brunwin
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25                                         Assistant United States Attorney

26                                         Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
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